Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 1 of 12




              EXHIBIT A
      Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 2 of 12
                                                                                   Filed
                                                                                   10 july 26 P3:09
                                                                                   Amalia Rodriguez-Mendoza
                                                                                   District CIeri<
                         D-1-GN-10-002587                                          Travis District
                                    Cause No. - - - - -                            D-1-GN-10-002587


TEDDY PHILLIPS,                                  §           IN DISCTRlCT COURT
                              Plaintiff          §
v.                                               §           OF TRAVIS COUNTY
                                                 §
SETON HEALTI-ICARE INC.,                         §
                                                 §          98TH
                              Defendant          §                 JUDICIAL DISTRICT

               ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

       Plaintiff Teddy Phillips complains of Seton HealthCal'e Inc., operating University

Medical Center Brackemidge, and wilt respectfully show this court as foHows:

                                          DISCOVERY

       1. Plaintiff intends to conduct discovery under Discovery Control Plan 2.

                                   STATEMENT OF CLAIM

       2. Teddy Phillips is deaf. Sign language is his primary form of communication. Mr.

Phillips was injmed and taken to the University Medical Center Brackenridge, fonnerly

Brackenridge Hospital, where he undelwent surgery. Despite his repeated requests for a sign

language interpreter, Defendant failed to provide a sign language interpreter for eleven of the

twelve days Mr. Phillips was in the care of the hospital.

       3. Defendant's conduct violates Chapter 121 of the Texas Human Resources Code, TEX.

HUM. REs. CODE ANN. § 121 (Vernon 2009)("Chapter 121").

       4. Mr. Phillips seeks injunctive and declaratory relief, damages under Chapter 121, and

attorney's fees, costs, and expenses.

                                             PARTIES

       5. Plaintiff Teddy Phillips is deaf and uses sign language to communicate. He is a

"person with a disability" within the' meaning of Chapter 121.
      Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 3 of 12




Tcxas 78737.    Its registered agent for service is Corporation Service Company d/b/a CSC

Lawyers Incorporating Service Company, 211 E. ill Street, S'uite 620, Austin, Texas 78701.

       7. Defendant has at all relevant times had access to Chapter 121.

                                 JURISDICTION AND VENUE

       8. Judsdiction and venue are propel' in this COUlt because the events and omissions

giving rise to the claims in the case occUlTed in this County.

                                    STATEMENT OF FACTS

       9. Mr. Phillips, thirty-three years old, was bom deaf. His parents are both deaf, and three

out of his four brothers and sisters are also deaf. He uses American Sign Language (ASL) as his

primary form of communication.

       10. Mr. Phillips is also left-handed. Mr. Phillips uses his left hand to perform most tasks,

including writing and typing.

       11, On June 11,2010, Mr. Phillips was driving his truck in Austin on his way home from

work. A drunk driver smashed into the driver's side of Mr. Phillips' truck and rendered Mr.

Phillips unconscious. The impact of the crash totaled Mr. Phillips' truck.

        12. While Mr. Phillips was unconscious, paramedics transpOlied him to Defendant's

hospital, University Medical Center Brackemidge, in Austin, Texas.

        13.   When Mr. Phillips regained consciousness, he was in the emergency room of

Defendant's hospital, and doctors were preparing him for surgery.

        14. Mr. Phillips sustained severe injuries in the accident, including a broken arm, broken

ribs, and a dislocated shoulder. These injuries were on the left side of his body. He also had cuts

and bruises, and experienced soreness, over his entire body.

        15. As soon as Mr. Phillips regained consciousness, he asked for an interpreter. The
      Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 4 of 12




order to explain where he was, what injuries he sustained, what surgery the doctors would

perform, and the risks of surgelY.      The interpreter also received Mr. Phillips' consent for

treatment. During this time Mr, Phillips signed only with his right hand due to his il~uries.

       16. Doctors employed by Defendant performed surgery on Mr. Phillips to repair his left

arm and shoulder. After surgely, he had no use of his left shoulder, arm, or hand. Doctors took

Mr. Phillips to the Intensive Care Unit (ICU).        After a day in the ICU, Defendant's staff

transferred Mr. Phillips to the sixth floor, where he would stay for the next ten days.

       17. During his ten-day stay on the sixth floor, Defendant failed to provide an interpreter

for Mr. Phillips despite numerous requests. Mr. Phillips estimates he requested an interpreter at

least four times after he was moved from the lCU to the sixth floor.

        18. Immediately after his move from the ICU, Mr. Phillips asked the nurse, who helped

with his transfer, for an interpreter. The nurse acknowledged his request, and replied that she

would speak to someone about it. None of Defendant's employees provided an interpreter at that

time or gave an explanation for the hospital's failure to provide Mr. Phillips with one.

        19. After extreme difficulty communicating with the doctor who saw Mr. Phillips while

making rounds, Mr. Phillips asked another nurse for an interpreter. Despite a second request,

Defendant failed to provide an interpreter.

        20. When Mr. Phillips' family visited him in the hospital, his father and grandmother

both asked the first nurse to provide an interpreter for Mr. Phillips because he could not

communicate with the eloctors and nurses assigned to his care. Once again Defendant failed to

provide an interpreter or other accommodation.

        21. During a visit with his assigned hospital social worker, Mr. Phillips made another

request for an interpreter. The social worker told Mr. Ph.illips she would see what she could do

to provide him with an interpreter.


                                                  3
_.._---_._-----   ----- - - - -
                         Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 5 of 12




                   Phillips an interpreter.

                           22. Mr. Phillips attempted to explain to the individuals who spoke with him that he

                   needed an interpreter throughout his stay. M1'. Phil1ips tried his best, but the attempts were vety

                   difficult because hecould not use his dominant hand to write or sign.

                           23. M1'. Phillips' room at the hospital was not located near a nurses' station. Defendant

                   failed to place signs or notation on Mr. Phillips' door or in his chatt indicating he was deaf. Mr.

                  Ph.i1Iips could not understand the doctors and nurses when they spoke to him. He had difficulty

                   communicating with the hospital staff. Since he could not use his left hand, he had to attempt to

                   write with his non-dominant right hand. He could not sign with his right hand because the

                  hospital employees did not understand sign language.

                           24. Mr. Phillips suffered much pain and frustration when he could not communicate with

                  those responsible for his care. After the accident Mr. Phillips was extremely sore. The already

                   difficult task of writing with his right hand became even more difficult and caused him pain. Mr.

                   Phillips became frustrated because he could not request medication or ask questions about his

                   condition.

                           25. Defendant has a nurse call system installed in each patient room. It is an intercom

                   system. The patient presses a button, which calls the main nurses' station on the floor. The

                   nurse picks up, and then asks the patient what he or she needs. The patient then responds to the

                   nurse by speaking into the intercom.

                           26.   On multiple occasions each day of his recovery at the hospital, Mr. Phillips

                   attempted to call the nurses to receive his medication, his pain treatment, or to attend to his other

                   medical needs. Because Mr. Phillips could not speak into the intercom system, Defendant's

                   employees ignored his calls. Defendant's employees hung up on him without visiting his room

                   01' trying to call back.



                                                                    4
      Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 6 of 12




fmally come to his room. It would take far too long for Mr. Phillips to receive a response.

Sometimes nurses and doctors would pass his doot' and he would have to attempt to make noise

in order to catch their attention.

        27. It would not cause Defendant undue burden to provide a sign language interpreter

and other accommodations to Mr. Phillips and others with hearing disabilities. Defendant is the

leading provider of health care services in Central Texas and the region's largest private

employer. Defendant offers a comprehensive range of health care services and promotes its

dedication to extraordinary patient care.

        28. Providing Mr. Phillips and other patients with hearing disabilities with an interpreter

would not fundamentally alter the nature of the services offered by Defendant. Defendant

advertises its commitment to superior customer service that is patient-centered and accessible at

each of its facilities.

        29. Mr. Phillips requested an interpreter multiple times during his hvelve-day stay at the

University Medical Center Brackenridge. Defendant failed to provide an interpreter or other

accommodation in order for Mr. Phillips to communicate with hospital staff during his recovery,

including the doctors and nurses responsible for his care. Mr. Phillips was unable to fully

understand the treatment and medications being administered to him. Often, he would wait in

pain for his medications because he could not conmmnicate with those responsible for providing

them. Due to Defendant's failure to accommodate him, Mr. Phillips experienced prolonged pain

and suffering.

                                         CAUSE OF ACTION

                                     VIOLATION OF CHAPTER 121

         30. Chapter 121 provides that the policy of Texas "is to encourage and enable persons

with disabilitie.s. to participate in the social and economic life of the state, to achieve maximum

                                                 5
       Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 7 of 12




personal independence, to become gainfully employed, and to otherwise fully enjoy all public

facilities within the state." TEx. HUM. REs. CODE ANN. § 121.001 (Vernon 2009).

         31. Chapter 121 states "persons with disabilities have the same right as the able-bodied

to the full use and enjoyment of any public facility in the state." TEX. HUM. REs. CODE. ANN. §

121.003(a). University Medical Center Brackemidge is a public facility for purposes of Chapter

121. TEx. HUM. RES. CODE ANN. 121.002(5).

         32. Mr. Phillips alleges a cause of action against Defendant under Chapter 121 because

Defendant deprived Mr. Phillips of the full use and enjoyment of the hospital by failing to

provide him with an interpreter 01' other accomlllodation.

         33. Chapter 121 requires that public facilities must make "reasonable accommodations in

policies, practices, and procedures" to allow individuals with disabilities to fully use and enjoy a

public facility. TEx. HUM. RES. CODE ANN. §121.003(d)(2).

         34. Defendant failed to make a reasonable accommodation in its policies, practices, and

procedures in order to accommodate Mr. Phillips and other patients with hearing impairments

when it failed to provide Mr. Phillips with a sign language interpreter. Doing so would not have

fundamentally altered the nature of services offered by Defendant or caused Defendant undue

b1.ll'den.

             35. Defendant failed to make a reasonable acconunodation to allow :MI. Phillips and

others with similar disabilities to communicate with the nurses' station or to otherwise request

care from the patient rooms. Making reasonable accommodations would not have been an undue

burden for Defendant.

             36. Chapter l21 also requires that public facilities provide "auxiliary aids and services

necessary to allow the full use and enjoyment of the public facility."         TEX. HUM. REs. CODE


ANN. 121.003(d)(3).


                                                     6
      Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 8 of 12




        37. Defendant failed to provide Mr. Phillips with the services or aids necessary for his

full use and enjoyment of the hospital. Defendant denied Mr. Phillips full use and enjoyment of

the hospital when it failed to provide a sign language interpreter for Mr. Phillips after Mr.

Phillips, and his family, repeatedly requested one.

       38. Defendant denied Mr. Phillips full use and enjoyment of the hospital and its services

when it failed to provide an accessible cOllll1mnication device for Mr. Phillips, who is deaf, to

contact the nurses' station to request care.

       39. Providing auxiliaty and services to Mr. Phillips, or other patients with hearing

disabilities, would not cause undue burden on Defendant.

                                      RELIEF REQUESTED

                                      INJUNCTIVE RELIEF

        40.   Mr. Phillips will continue to experience unlawful discrimination as a result of

Defendant's refusal to comply with Chapter 121. Injunctive relief is necessary so all individuals

with disabilities can enjoy University Medical Center Brackenridge and its services equally as

required by law, and to require Defendant to develop and follow a policy, procedure, or practice

for accommodating patients who are hearing impaired, including Plaintiff.

                                    DECLARATORY RELlEF

        41. Mr. Phillips is entitled to declaratory judgment concerning Defendant's violations of

the law, specifying the rights of individuals with
                                               .....
                                                     disabilities to access the services available at

University Medical Center Brackenridge.

                                               DAMAGES

        42. Mr. Phillips is entitled to compensatOlY relief for the physical pain and anguish he

suffered as a result of Defendant's conduct. Under Chapter 121, Mr. Phillips is also entitled to a

minimum of$100 per violation. There is no statutOly maximum to this penalty. TEX. HUM. REs.


                                                  7
      Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 9 of 12




CODE ANN. § 121.004 (Vernon 2009).


                                ATIORNEYS' FEES AND COSTS

        43.   Ivlr. Phillips is entitled to reasonable attorneys' fees, court costs, and expenses

pursuant to the Texas Declal'atOlY Judgment Act.

                                  REQUEST FOR DISCLOSURE

        44. Pursuant to Rule 194, you are requested to disclose, within fifty (50) days of service

of this request, the information or material described in Rule 194.2(a)·(f), (i), and (1).

                                      PAAYER FOR RELIEF

Therefore, Plaintiff respectfully requests that tIus Court award the following relief:

        A. A permanent injunction, requiring Defendant, its agents, servants, and employees,
           and all persons acting in conceIt with Defendant, to eliminate all barriers described
           herein that prevent plaintiff from having access to the goods, services, facilities,
           privileges, advantages and accommodations Defendant offers at University Medical
           Center Brackenridge; and el~oining Defendant from violating Chapter 121 and from
           discriminating against Plaintiff in violation of the law;

        B. A declaratory judgment that Defendant's failure to accommodate has prevented
           Plaintiff from fully accessing University Medical Center Brackemidge, in violation of
           Chapter 121;

        C. Award Plaintiff compensatory relief for the physical pain and anguish he suffered as
           a result of Defendant' s conduct and a minimum of$100 per violation of Chapter 121;

        D. Find that Plaintiff is the prevailing party in this action, and order Defendant liable for
           Plaintiffs attorneys' fees, costs, and litigation expenses; and

        E.    Grant such other and additional reliefto which Plaintiff may be entitled.


Dated: J lily 26, 2010
                                                       Respectfully submitted,




                                                       /s/ Abigail Frank
                                                       Abigail Frank
                                                       State Bar No. 24069732
                                                   8
Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 10 of 12




                                   Joseph Berra
                                   State BarNo. 24027144
                                   James C. Harrington
                                   State Bar No. 09048500
                                   Wayne Krause
                                   State Bar No. 24032644

                                   TEXAS CIVIL RIGHTS PROJECT
                                   1405 Montopolis Drive
                                   Austin, Texas 78741-3438
                                   (512) 474-5073 (phone)
                                   (512) 472-0726 (fax)

                                   ATTOfu'JEYS FOR PLAINTIFF




                               9
                     Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 11 of 12


                                                                CITATION
                                                   .r'HE    S TAT E      o F      T E X A S
                                                       CAUSE NO. O·1-GN·10·002587

TEDDY PHI LLI PS
                                                                                                                            , Plaintiff
     vs.
SETON HEALTHCARE INC.
                                                                                       AUG 0 4 2010
                                                                                                                            , Defend,ant .---- .. ~
TO:    SETON HEALTHCARE INC.                                      1)l.'1g!=IL_--==
       BY SERVING ITS REGISTERED AGENT, CORPORATION SERV~BRUC
       D/B/A CSC LAWYERS INCORPORATING SERVICE COMPANY
       211 E. 7TH STREET, STE. 620                        C*Ii1I&!.
     AUSTIN, TEXAS 78701                                                       ~.-~__~~~--'-~~~ff~~~------------~'"
Defendant, in the above styled and numbered cause:                         ~_
YOU HAW BEEN SUED.    You may employ an attorney.   I.f you or your attorney do not file a written
answer with the clerk who issued this citation by 10:00 A.M. on the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may
be taken against you.                .

Attached is a copy of the ORIGINAL PETITION of the pLAINTIFF in the above styled and numbered
cause, which was filed on JULY 26, 2010 in the 98TH JUDICIAL DISTRICT COURT of Travis County,
Austin, Texas.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office, August 03, 2010.

REQUESTED BY:
ABIGAIL HILL FRANK
1405 MONTOPOLIS DR.
AUSTIN, TX 78741-5073                                                                  ALIA RODRIGUEZ-MENDOZ
BUSINESS pHONE: (512) 474-5073 ext 104                                             Travis County District Clerk
                                                                                   Travis County 8outthouse
                                                                                   1000 Guadalupe, P.O. Box 679003 (78767)
                                                                                   Austin. TX 78701

                                                                 RETURN
Came   to   hand     on   the           day   of                                  at               0' clock     _ _ M.,       and     executed     at
                                                                  within che County of                                  _     on the
          day   of                                         at           o'clock         M.,   by    delivering        to     the     within   named
                                                                                                                                       each        in
person,     a true copy of this citation together with the PLAINTIFF'S REQUEST FOR DISCLOSURE AND THE                               ~~~~~~

E-FILE MANDATE NOTICE accompanying pleading,                having first attached such copy of Bt\I&EIfaMation to
pleading and endorsed on such coPy of citation the date of delivery.
                                                                                           Consl3ble Pet. 5) Trayis Counly, Texas
Service Fee: $
                                                                                  Sheriff I Constable I Authorized person
Sworn to and subscribed before me this the
                                                                                  By:                                                          _
       day of                       _

                                                                                   Printed Name of Server


                                                                                                                                   County, Texas
Notary Public, THE STATE OF TEXAS

D-l-GN-10-002587                                                 CONSTABLE (PAUPER'S OATH)                                           POl - 02076
C!l Original                    C!lService Copy
    ,   t         Case 1:11-cv-01085-SS Document 1-2 Filed 12/15/11 Page 12 of 12
             '~
"



             Cause No.: D1GN10002587               {}                  In the 98TH District Court
                                                   {}                  TRAVIS County
            Plaintiff:                             {}
            TEDDY PHILLIPS

             Defendant:
             SETON HEALTHCARE INC




                                         Officer's Return

            Came to hand August 03, 2010 at 9:03 A.M. and executed in Travis County,
            Texas, on August 04, 2010 at 8:00 A.M. by delivering to SETON
            HEALTHCARE INC by delivering to Its registered agent, Corporation Service
            Company d/b/a CSC Lawyers Incorporating Service Company, at 211 E. 7th
            Street, Suite 620, Austin, Texas 78701, by delivering to KELLY COURTNEY,
            desIgnated agent for service, a true copy of the citation together with an
            accompanying copy of the plaintiff's ORIGINAL petition WITH PLAINTIFF'S
            REQUEST FOR DISCLOSURE AND THE TRAVIS COUNTY E-FILE MANDATE
            NOTICE.


            FEE: $ 70 Paid

                                                        Travis Coun




                                                             by: _ _~---.:"...:;-+-                      _




                                                        kM~ALlA RODRIGUEZ·MENDOZA, ~istrict CI~rk,
                                                        Tr~vis County. "el{~SI do hereby certify that thiS Is
                                                        a true and correct copy as same appears of
                                                        record in my office. Witne my han tand seal of
                                                        office on                      . .
                                                           ,,~~' ;~.   AMALIA RODRIGUEZ·MENDOZA
                                                         {1i} DISTRICT CL~
                                                    ,      .....•       By Deputy:   U ..
